       Case 3:04-md-01648-MMC Document 321 Filed 03/07/06 Page 1 of 7



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 8                      UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
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11                                    )
     IN RE RUBBER CHEMICALS           )
12   ANTITRUST LITIGATION,            )    No. M:04-01648 MJJ (BZ)
                                      )
13                                    )
                                      )    SECOND DISCOVERY ORDER
14                                    )
                                      )
15                                    )
                                      )
16
17        Following a telephone conference to address a number of
18   discovery disputes, the parties met and conferred and resolved
19   many of the disputes, for which they are to be complimented.
20   Two remain.    First is whether Bayer AG and Bayer Corporation
21   (collectively Bayer) should answer the following
22   interrogatory, which the court understands to be a replacement
23   for several of the earlier interrogatories which were in
24   dispute.
25              Identify the current and former Bayer AG and
                Bayer Corp. officers, directors and employees
26              who were involved in communications and
                meetings with competitors about: (a) fixing,
27              increasing, setting or maintaining the price
                of rubber chemicals; (b) allocating rubber
28              chemicals’ production, sale, customers or

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       Case 3:04-md-01648-MMC Document 321 Filed 03/07/06 Page 2 of 7



 1           market share; (c) restricting the production
             of rubber chemicals or inputs to manufacture
 2           rubber chemicals; and (d) concealment of any
             of the foregoing activities. For each person
 3           identified, to the extent you have not already
             done so, state for each current employee the
 4           position he/she held with the company and the
             dates he/she held those positions, and for
 5           each former employee, the same information
             plus his/her last known residential address.
 6
 7        Even as so formulated, I consider the interrogatory to be
 8   somewhat vague and overly broad.      Ordinarily, I do not see it
 9   as the proper function of a court ruling on a discovery
10   dispute to rewrite interrogatories.      However, because the
11   discovery cut-off date is fast approaching and requiring
12   plaintiffs to propound new interrogatories consistent with a
13   lengthy order detailing the shortcomings of the present
14   interrogatory would probably create more problems than it
15   would resolve, I will require Bayer to answer the following
16   interrogatory:
17           Identify the current and former Bayer AG and
             Bayer Corp. officers, directors and employees
18           who during the period 1994 to 2001
             participated in communications and meetings
19           with competitors about: (a) increasing,
             setting or maintaining the price of rubber
20           chemicals; (b) allocating rubber chemicals'
             production, sale, customers, or market share;
21           (c) restricting the production of rubber
             chemicals or inputs to manufacture rubber
22           chemicals; and (d) concealing any of the
             foregoing activities. For each person
23           identified, to the extent you have not already
             done so, state for each current employee the
24           position he/she held with the company and the
             dates he/she held those positions, and for
25           each former employee, the same information
             plus his/her last known residential address.
26
          As to the issue of providing the last known residential
27
     address of each former employee, I have read the parties’
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        Case 3:04-md-01648-MMC Document 321 Filed 03/07/06 Page 3 of 7



 1    briefing on this issue.    Bayer’s only objection to providing
 2    these addresses is that they are protected by German privacy
 3    laws.    The reasoning in the Vitamins case is persuasive on
 4    this issue, and I have tentatively concluded that the
 5    information should be produced pursuant to a protective order.
 6    In re:    Vitamins Antitrust Litigation, 2001 WL 1049433 at *
 7    7-9 (D.D.C. 2001).    The case on which Bayer relies, Volkswagen
 8    v. Valdez, 909 S.W.2d 900, 903 (Tex. 1995), is distinguishable
 9    on the grounds that Goodyear is not looking for Bayer's
10    corporate phone book, which could contain information about
11    many people with no connection to this matter, but is instead
12    seeking only information regarding those former employees whom
13    Bayer itself identifies as having knowledge about the matters
14    in dispute.
15            However, since I am personally unfamiliar with the German
16    privacy laws, I am reluctant to resolve this issue on the
17    basis of the minimal briefing contained in the parties'
18    letters.    Accordingly, if Bayer believes the issue has not
19    been adequately resolved in cases such as Vitamins, it need
20    not produce the last known addresses of its former employees.
21    Instead, it must file a brief on this issue by March 21, 2006.
22    Once the court sees the brief, it will schedule further
23    briefing or a hearing as it deems appropriate.
24            The other discovery dispute involves the issue of where
25    the 30(b)(6) depositions should be taken.1       This dispute
26
          1
               Although Goodyear has filed the equivalent of a
27   motion to compel discovery, on the issue of the location of the
     depositions, the proper practice would have been for Bayer to
28   seek a protective order against the deposition noticed for

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 1    requires the court to balance several sometimes inconsistent
 2    principles.    Goodyear noticed the deposition of Bayer pursuant
 3    to Rule 30(b)(6) for Washington D.C., where Bayer's counsel
 4    resides.   A party noticing a deposition ordinarily has a right
 5    to have a deposition occur where noticed.       Lexington Insurance
 6    Co. v. Commonwealth Insurance Co., 1999 WL 33292943 at * 9
 7    (N.D. Cal. 1999).   On the other hand, the 30(b)(6) deposition
 8    of a corporation should ordinarily be taken at the
 9    corporation's principal place of business.       8A Wright, Miller
10    & Marcus, Federal Practice and Procedure:       Civil 2d § 2112
11    (West 1994 & Supp. 2005).     Finally, courts have authority to
12    shift the location of a deposition in the interest of justice.
13    Id.   Bayer relies principally on the authority that the
14    deposition should occur in Germany, where its principal place
15    of business is located.    To complicate matters, as a
16    compromise, Bayer has suggested that the deposition occur in
17    the Netherlands, a neutral location.      But Bayer does not
18    explain how any of the policies implicated in the Federal
19    Rules would be advanced by scheduling the deposition for the
20    Netherlands.   In fact, Bayer’s suggestion would seem to
21    inconvenience everybody, whereas Goodyear’s proposed location
22    would principally inconvenience the Bayer witnesses.
23          Many of the cases which have shifted the deposition
24
25   Washington D.C. and request instead that the deposition be re-
     noticed for Germany. Accordingly, I believe Bayer bears the
26   burden of establishing the need to move the depositions to
     Germany. Cadent Ltd. v. 3 M Unitek Corp., 232 F.R.D. 625, 629-
27   30 (S.D. Cal. 2005)(denying request for a protective order that
     required the depositions in the case not be taken in Los
28   Angeles).

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       Case 3:04-md-01648-MMC Document 321 Filed 03/07/06 Page 5 of 7



 1   location from a corporation's residence have done so in an
 2   effort to minimize cost and inconvenience.       In this case, all
 3   parties are large, multi-national companies.       The costs of
 4   travel of the numerous counsel involved in this case to
 5   Germany are likely greater than the costs of their travel to
 6   Washington D.C., and the cost of a reporter, videographer and
 7   possibly a translator will likely be much higher if they must
 8   travel to Germany.    Given the size of the companies, however,
 9   cost should not be dispositive.       Nor is it clear that
10   requiring counsel to travel from various United States
11   locations to Germany or the Netherlands (as Bayer proposes)
12   places a much heavier burden on them than requiring them to
13   travel to Washington D.C.     While the burden on the witnesses
14   to travel to Washington D.C. is greater than to travel to the
15   Netherlands, that collective burden appears to be not as great
16   as the collective burden of counsel and other deposition
17   personnel traveling to Europe, especially since Bayer does not
18   disclose the number of designated witnesses.       Balancing all
19   these factors, if cost and convenience were the only factors
20   in deciding this issue, I would be inclined to require the
21   depositions to proceed in Germany.
22        However, I cannot overlook the fact that preceding this
23   litigation, Bayer pled guilty to criminal conspiracy charges
24   in this court.   As part of the plea agreement, Bayer agreed to
25   cooperate with the government, including sending necessary
26   witnesses and documents to San Francisco.       While nothing in
27   the plea agreement requires Bayer to send witnesses to the
28   United States in connection with civil litigation not

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 1    involving the United States as a party, the fact that Bayer is
 2    no stranger to this court in connection with the matters under
 3    dispute and was willing to send witnesses as far as San
 4    Francisco makes it fairer to require its witnesses to travel
 5    to Washington D.C. to testify than if it had simply been sued
 6    civilly in this district.       In addition, given the nature of
 7    the charges, I cannot rule out the possibility that court
 8    intervention will be needed during the deposition and that
 9    such intervention will be easier if the deposition is held in
10    Washington D.C. instead of Europe.2
11            For the foregoing reasons, IT IS HEREBY ORDERED as
12    follows:
13            1.    Bayer shall answer the revised interrogatory set
14    forth above by March 21, 2006.       If Bayer chooses not to
15    provide the last known addresses of its former employees, by
16    that date it shall file a brief justifying withholding of that
17    information, analyzing not only the law of Germany but also
18    the American cases which have interpreted that law.
19            2.    The 30(b)(6) deposition of Bayer noticed by Goodyear
20    shall proceed as noticed in Washington D.C.       In recognition of
21    the cost savings to Goodyear, it shall pay one-half of the
22    reasonable travel and lodging costs of the Bayer witnesses.
23    Dated:       March 7, 2006
24
25                                        Bernard Zimmerman
                                   United States Magistrate Judge
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               If they expect such problems, the parties should
     consider stipulating to a discovery referee, given the issue of
28   my availability which I have discussed with counsel.

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        Case 3:04-md-01648-MMC Document 321 Filed 03/07/06 Page 7 of 7



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